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 4                          UNITED STATES DISTRICT COURT
 5                                  DISTRICT OF NEVADA
 6                                             -oOo-
 7
     UNITED STATES OF AMERICA                    )      2:08-CR-00288-PMP-PAL
 8                                               )
                            Plaintiff,           )
 9                                               )
     vs.                                         )          ORDER
10                                               )
     CALWAY WILLIAM CAULEY,                      )
11                                               )
                            Defendants.          )
12                                               )
                                                 )
13

14            IT IS ORDERED that, in compliance with the Memorandum decision of
15   the United States Court of Appeals for the Ninth Circuit (Doc. #367) entered June
16   21, 2012, Plaintiff United States shall, not later than July 16, 2012 submit to the
17   Court for consideration a proposed order for a mandatory criminal forfeiture equal to
18   the total amount of the loans obtained by the conspiracy of conviction in this case.
19
     DATED: July 3, 2012.
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22                                               PHILIP M. PRO
                                                 United States District Judge
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